              Case 1:17-cr-00362-JB Document 38 Filed 04/21/22 Page 1 of 1


                                   UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEW MEXICO

                                              Clerk's Minutes
                                  Before the Honorable James O. Browning


CASE NO.           CR 17-0362 JB                 DATE: 4/21/2022

TITLE:         USA v. Cerpa-Coy

COURTROOM CLERK: L. Rotonda                      COURT REPORTER:     J. Bean

COURT IN SESSION: 8:46 AM                        TOTAL TIME: 0:07

TYPE OF PROCEEDING: STATUS CONFERENCE

COURT RULING/DISPOSITION:                        SEE BELOW

ATTORNEYS PRESENT FOR PLAINTIFF(S):              ATTORNEYS PRESENT FOR DEFENDANT(S):
 Kimberly Brawley                                 Todd Bullion


PROCEEDINGS:

COURT IN SESSION: 8:46 AM

COURT: CALLS CASE, COUNSEL ENTER APPEARANCES. COURT INTERPRETER ORIVE SWORN IN.

COURT NOTES THAT MATTER IS BEFORE THE COURT ON TWO PETITIONS TO MODIFY CONDITIONS OF

SUPERVISION.

8:49 AM QUERIES MR. BULLION REGARDING REQUESTS MADE BY PROBATION.

8:51 AM MR. BULLION: INDICATES WILL AGREE TO HAVING CONDITIONS ADDED.

COURT: INDICATES WILL GRANT PETITIONS.

8:52 AM COURT: QUERIES USPO MARTINEZ REGARDING DEFENDANT’S DIETARY NEEDS.

OFFICER MARTINEZ: INDICATES WILL SPEAK WITH RESIDENTIAL REENTRY CENTER REGARDING

CONCERN.

COURT IN RECESS: 8:53 AM



The Honorable James O. Browning                  -Page 1-                      Clerk’s Minutes
